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     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   IN RE SEIZURE WARRANT FOR:               CR MISC. NO. 2:18-MJ-00873
     2015 MERCEDES BENZ S-CLASS, VIN:
13   WDDUG8CB5FA075049, LICENSE PLATE         WRIT OF ENTRY
     NUMBER KENTLAW LOCATED AT A
14   RESIDENCE AT 10040 GOTHIC
     AVENUE, NORTH HILLS, CALIFORNIA
15   91343
16

17        Upon application of the United States of America, and good cause
18   having been shown, it is hereby ORDERED as follows:
19        The United States, its agents, and representatives are

20   authorized to enter the premises at 10040 Gothic Avenue, North Hills,

21   California 91343, for the purpose of:

22        (1)   Conducting a search for the following: 2015 Mercedes Benz

23   S-Class, VIN: WDDUG8CB5FA075049, California license plate number

24   KENTLAW (the “SUBJECT VEHICLE”); and

25        (2)   Seizing and removing the SUBJECT VEHICLE from the premises.

26        The entry and seizure shall be conducted by special agents and

27   employees of the United States Secret Service and agents and

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 1
     employees of any other law enforcement agencies as may be necessary
 2
     to effectively conduct the entry and the seizure.         A
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     third party locksmith and/or moving/towing company shall also be
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     allowed to enter said property for the purpose of removal of the
 5
     subject currency.
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     DATED: ____________               ______________________________
                                        _____
                                            _____________________
                                       UNITED STATES
                                              S    S MAGISTRATE
                                                       G S      JUDGE
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     Submitted by:
 9
     ____/s/John J. Kucera______________
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     JOHN J. KUCERA
     Assistant United States Attorney
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     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   IN RE SEIZURE WARRANT FOR:               CR MISC. NO. 2:18-MJ-00873
     2015 MERCEDES BENZ S-CLASS, VIN:
13   WDDUG8CB5FA075049, LICENSE PLATE         APPLICATION FOR WRIT OF ENTRY;
     NUMBER KENTLAW LOCATED AT A              DECLARATION IN SUPPORT THEREOF
14   RESIDENCE AT 10040 GOTHIC
     AVENUE, NORTH HILLS, CALIFORNIA
15   91343
16

17        In connection with the execution of a seizure warrant for: 2015
18   Mercedes Benz S-Class, VIN: WDDUG8CB5FA075049, California License
19   Plate KENTLAW located at a residence at 10040 Gothic Avenue, North
20   Hills, California 91343 (Hereinafter, collectively, the "SUBJEC
21   VEHICLE") described in the seizure warrant submitted
22   contemporaneously with this application, the United States of America
23   submits an ex parte application for a writ of entry in order to
24   execute the seizure warrant.
25              Authority for Issuance of a Writ of Entry
26        This Court's authority to issue a writ of entry is the “All
27   Writs Act,” 28 U.S.C. § 1651, which provides in pertinent part as

28   follows:
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 1        (a) The Supreme Court and all courts established by Act of
          Congress may issue all writs necessary or appropriate in
 2        aid of their respective jurisdictions and agreeable to the
          usages and principles of law.
 3

 4        In the civil forfeiture context, writs of entry have been most

 5   commonly issued in conjunction with the arrest or seizure of real

 6   property for forfeiture.     For example, in United States v. Real

 7   Property Located at 20832 Big Rock Drive, Malibu, 51 F.3d 1402 (9th

 8   Cir. 1995), the Ninth Circuit stated:
          On November 9, 1990, the Government filed a civil
 9        forfeiture complaint against the house on Big Rock Drive .
          . . . The DEA then obtained authorization to seize the
10        house in much the same way it might obtain a warrant to
11        arrest a person: It approached a magistrate, established
          probable cause that the house had been purchased with drug
12        proceeds, and asked for (and received) a writ of entry and
          a warrant to arrest the house in rem.
13

14   51 F.3d at 1401 (emphasis added).      The purpose of such writs of entry

15   has generally been to inspect and inventory the seized real property,

16   to document its condition at the time of seizure, and to assess its

17   value.

18        As set forth in the attached declaration of Teresa Healy, the

19   SUBJECT VEHICLE is believed to be located at 10040 Gothic Avenue,

20   North Hills, California 91343, a residence inhabited by Arutyun

21   Demirchyan and owned by Ademek Enterprises LLC, which is in turn

22   owned by Demirchyan’s brother, Avag Demirchyan.

23        Based upon all the information set forth in her seizure warrant

24   affidavit, Special Agent Teresa Healy believes the SUBJECT VEHICLE

25   located at 10040 Gothic Avenue, North Hills, California 91343, is the

26   vehicle the government seeks to seize.       Special Agent Teresa Healy

27   does not know if Arutyun Demirchyan or Avag Demirchyan will cooperate

28   and give agents access to the SUBJECT VEHICLE parked outside 10040

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 1   Gothic Avenue, North Hills, California 91343 in order to seize the

 2   SUBJECT VEHICLE pursuant to a duly-issued seizure warrant alone.             In

 3   light of the fact that, as Special Agent Teresa Healy described in

 4   her seizure warrant affidavit, a writ of entry is needed to allow law

 5   enforcement agents and a third party locksmith and/or towing/moving

 6   company access to the property to obtain the SUBJECT VEHICLE.

 7         The government is not seeking to forfeit real property in this

 8   action.   However, as was the case in Real Property Located at 20832
 9   Big Rock Drive, Malibu, a writ of entry is necessary to implement a
10   seizure warrant duly issued by a federal court.
11                                    CONCLUSION
12         For the foregoing reasons, and based upon the attached

13   declaration of Teresa Healy, the government respectfully requests

14   that this Court exercise its authority under the All Writs Act and

15   issue a writ of entry for the premises at 10040 Gothic Avenue, North

16   Hills, California 91343, for the purpose of:

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 1        (1)   Conducting a search for the following: 2015 Mercedes Benz

 2   S-Class, VIN: WDDUG8CB5FA075049, California license plate number

 3   KENTLAW (the “SUBJECT VEHICLE”); and

 4        (2)   Seizing and removing the SUBJECT VEHICLE from the premises.

 5   Dated: April 12, 2018               Respectfully submitted,

 6                                       NICOLA T. HANNA
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                                         LAWRENCE S. MIDDLETON
 8                                       Assistant United States Attorney
                                         Chief, Criminal Division
 9

10                                             /s/John J. Kucera
                                         JOHN J. KUCERA
11                                       Assistant United States Attorney

12                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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 1                           DECLARATION OF TERESA HEALY
 2         I, Teresa Healy, declare as follows:
 3         1.   I am a Special Agent with the United States Secret Service,
 4   and have been so employed since April 2016.        To the extent that any
 5   information in this declaration is not within my personal knowledge,
 6   it was made known to me through reliable law enforcement sources, or
 7   my discussions with other Agents investigating this matter, and I
 8   believe such information to be true.
 9         2.     Contemporaneously with the filing of the application, the
10   government has submitted an application for a seizure warrant for One
11   2015 Mercedes Benz S-Class, VIN: WDDUG8CB5FA075049, California
12   license plate number KENTLAW (the “SUBJECT VEHICLE”).          I believe the
13   SUBJECT VEHICLE is located at 10040 Gothic Avenue, North Hills,
14   California 91343, parked in the driveway or in the garage of the
15   residence.    .
16         3.   I do not know if Arutyun Demirchyan or Avag Demirchyan will
17   cooperate and give the USSS access to the SUBJECT VEHICLE at 10040
18   Gothic Avenue, North Hills, California 91343 in order to seize the
19   SUBJECT VEHICLE pursuant to a duly-issued seizure warrant alone.             In
20   light of that fact, a writ of entry is needed to allow law
21   enforcement agents and a third party locksmith and/or towing/ moving
22   company access to the property to obtain the subject vehicle.
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